Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.1 Page 1 of 54




                                                   Feb 27 2023

                                                     s/ danielm




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Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.2 Page 2 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.3 Page 3 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.4 Page 4 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.5 Page 5 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.6 Page 6 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.7 Page 7 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.8 Page 8 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.9 Page 9 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.10 Page 10 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.11 Page 11 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.12 Page 12 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.13 Page 13 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.14 Page 14 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.15 Page 15 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.16 Page 16 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.17 Page 17 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.18 Page 18 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.19 Page 19 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.20 Page 20 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.21 Page 21 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.22 Page 22 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.23 Page 23 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.24 Page 24 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.25 Page 25 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.26 Page 26 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.27 Page 27 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.28 Page 28 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.29 Page 29 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.30 Page 30 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.31 Page 31 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.32 Page 32 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.33 Page 33 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.34 Page 34 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.35 Page 35 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.36 Page 36 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.37 Page 37 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.38 Page 38 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.39 Page 39 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.40 Page 40 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.41 Page 41 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.42 Page 42 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.43 Page 43 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.44 Page 44 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.45 Page 45 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.46 Page 46 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.47 Page 47 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.48 Page 48 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.49 Page 49 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.50 Page 50 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.51 Page 51 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.52 Page 52 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.53 Page 53 of 54
Case 3:23-cv-00369-WQH-DEB Document 1 Filed 02/27/23 PageID.54 Page 54 of 54
